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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

Date: May 30, 2024

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )
v.                                         )       Case No. CR-20-00307-JD
                                           )
JUSTIN BIGGS,                              )
                                           )
                     Defendant.            )

ENTER ORDER:

       The Court has set Defendant Justin Biggs’ sentencing hearing for Thursday, June
27, 2024 at 10:00 a.m. in Courtroom 502. See Notice of Hearing. [Doc. No. 43].

       The Court sua sponte extends the requirements in Local Criminal Rule 32.2. Any
sentencing memoranda and motions must be filed within 14 days of the date of this
Order, and any response to a sentencing memoranda or motion must be filed 7 days
thereafter.

       The Court further ORDERS the parties to submit any letters by or on behalf of
Defendant Justin Biggs and/or submissions by the victim by June 24, 2024, for purposes
of sentencing.

ENTERED AT THE DIRECTION OF THE HONORABLE JODI W. DISHMAN.

                                        JOAN KANE, CLERK


                                        By:    /s/ Nyssa Vasquez
                                                  Deputy Clerk
